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 6
     Attorneys for Defendants
 7    THE FEDERAL HOME LOAN MORTGAGE CORPORATION
      a/k/a FREDDIE MAC, and WELLS FARGO BANK, N.A.,
 8    erroneously sued herein as WELLS FARGO HOME MORTGAGE,
      INC.
 9                               UNITED STATES DISTRICT COURT
10                           SOUTHERN DISTRICT OF CALIFORNIA
11

12                                                 Case No. 10-CV-1290 IEG BLM
     ALBERTO MALTA, individually and on behalf )
     of all others similarly situated,         )
13                                             )   DEFENDANTS’ ANSWER TO
                     Plaintiff,                )   PLAINTIFF’S CLASS ACTION
14                                             )   COMPLAINT
                                               )
15            vs.                              )
                                               )   Action Filed: June 16, 2010
16   THE FEDERAL HOME LOAN MORTGAGE )
     CORPORATION A/K/A FREDDIE MAC, and )          PROPOSED CLASS ACTION
17   WELLS FARGO HOME MORTGAGE, INC. )
                                               )
18                   Defendants.               )
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                     DEFENDANTS’ ANSWER TO PLAINTIFF’S CLASS ACTION COMPLAINT
                                       (10-CV-1290 IEG BLM)
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 1           Defendants The Federal Home Loan Mortgage Corporation a/k/a Freddie Mac (“Freddie

 2   Mac”) and Wells Fargo Bank, N.A. (“Wells Fargo”), erroneously sued herein as Wells Fargo Home

 3   Mortgage, Inc., (together, “Defendants”) hereby answer the Class Action Complaint filed on June

 4   16, 2010 (the “Complaint”) by plaintiff Alberto Malta (“Plaintiff”), as follows:

 5                                            INTRODUCTION

 6           1.       Answering Paragraph 1 of the Complaint, Defendants admit that Plaintiff purports to

 7   assert claims against them for alleged violations of the Telephone Consumer Protection Act, 47

 8   U.S.C. § 227 (the “TCPA”). Except as expressly admitted, Defendants deny each and every other

 9   allegation set forth therein. Further, Wells Fargo alleges that Wells Fargo Home Mortgage, Inc. is
10   an operating subsidiary of Wells Fargo Bank, N.A. For purposes of this Answer, Wells Fargo

11   interprets “Wells Fargo Home Mortgage, Inc.” to refer to Wells Fargo Bank, N.A..

12                                     JURISDICTION AND VENUE

13           2.       Answering Paragraph 2 of the Complaint, Defendants admit that this Court has

14   jurisdiction over this action pursuant to 28 U.S.C. § 1332(d). Except as expressly admitted,

15   Defendants deny each and every other allegation set forth therein.

16           3.       Answering Paragraph 3 of the Complaint, Defendants admit that they do business

17   within the State of California and the County of San Diego. Defendants consent to jurisdiction and

18   venue in this Court. Except as expressly admitted, Defendants deny each and every other

19   allegation set forth therein.

20                                                  PARTIES

21           4.       Answering Paragraph 4 of the Complaint, Defendants are without sufficient

22   knowledge or information to form a belief as to the truth of the allegations, and on that basis deny

23   each and every allegation set forth therein.

24           5.       Answering Paragraph 5 of the Complaint, Defendants admit that Freddie Mac is a

25   corporation. Except as expressly admitted, Defendants deny each and every other allegation set

26   forth therein.
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 1           6.       Answering Paragraph 6, Defendants admit that Wells Fargo has offices at 1 Home

 2   Campus Mac X2401-049, Des Moines, IA 50238. Except as expressly admitted, Defendants deny

 3   each and every other allegation set forth therein.

 4           7.       Answering Paragraph 7, Defendants admit that Freddie Mac has offices at 8200

 5   Jones Branch Dr., McLean, VA 22102. Except as expressly admitted, Defendants deny each and

 6   every other allegation set forth therein.

 7           8.       Answering Paragraph 8, Defendants deny each and every allegation set forth

 8   therein.

 9                                       FACTUAL ALLEGATIONS
10           9.       Answering Paragraph 9 of the Complaint, Defendants are without sufficient

11   knowledge or information to form a belief as to the truth of the allegations, and on that basis deny

12   each and every allegation set forth therein.

13           10.      Answering Paragraph 10 of the Complaint, Defendants admit that Freddie Mac is a

14   corporation. Except as expressly admitted, Defendants deny each and every other allegation set

15   forth therein.

16           11.      Answering Paragraph 11 of the Complaint, Defendants admit they conduct business

17   in the State of California and in the County of San Diego. Except as expressly admitted,

18   Defendants deny each and every other allegation set forth therein.

19           12.      Answering Paragraph 12 of the Complaint, Defendants are without sufficient

20   knowledge or information to form a belief as to the truth of the allegations, and on that basis deny

21   each and every allegation set forth therein.

22           13.      Answering Paragraph 13 of the Complaint, Defendants are without sufficient

23   knowledge or information to form a belief as to the truth of the allegations, and on that basis deny

24   each and every allegation set forth therein.

25           14.      Answering Paragraph 14 of the Complaint, Defendants are without sufficient

26   knowledge or information to form a belief as to the truth of the allegations, and on that basis deny
27   each and every allegation set forth therein.
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 1           15.     Answering Paragraph 15 of the Complaint, Defendants are without sufficient

 2   knowledge or information to form a belief as to the truth of the allegations, and on that basis deny

 3   each and every allegation set forth therein.

 4           16.     Answering Paragraph 16 of the Complaint, Defendants deny each and every

 5   allegation set forth therein.

 6           17.     Answering Paragraph 17 of the Complaint, Defendants deny each and every

 7   allegation set forth therein.

 8                                   CLASS ACTION ALLEGATIONS

 9           18.     Answering Paragraph 18 of the Complaint, Defendants admit that Plaintiff purports
10   to assert claims on behalf of himself and a putative class. Except as expressly admitted,

11   Defendants deny each and every other allegation set forth therein.

12           19.     Answering Paragraph 19 of the Complaint, Defendants deny each and every

13   allegation set forth therein.

14           20.     Answering Paragraph 20 of the Complaint, Defendants deny each and every

15   allegation set forth therein.

16           21.     Answering Paragraph 21 of the Complaint, Defendants deny each and every

17   allegation set forth therein.

18           22.     Answering Paragraph 22 of the Complaint, Defendants admit that Plaintiff purports

19   to seek damages and injunctive relief for recovery of economic injury. Except as expressly

20   admitted, Defendants deny each and every other allegation set forth therein.

21           23.     Answering Paragraph 23 of the Complaint, Defendants deny each and every

22   allegation set forth therein.

23           24.     Answering Paragraph 24 of the Complaint, Defendants deny each and every

24   allegation set forth therein.

25           25.     Answering Paragraph 25 of the Complaint, Defendants deny each and every

26   allegation set forth therein.
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 1           26.     Answering Paragraph 26 of the Complaint, Defendants deny each and every

 2   allegation set forth therein.

 3           27.     Answering Paragraph 27 of the Complaint, Defendants are without sufficient

 4   knowledge or information to form a belief as to the truth of the allegations, and on that basis deny

 5   each and every allegation set forth therein.

 6           28.     Answering Paragraph 28 of the Complaint, Defendants deny each and every

 7   allegation set forth therein.

 8           29.     Answering Paragraph 29 of the Complaint, Defendants deny each and every

 9   allegation set forth therein.
10                                      FIRST CAUSE OF ACTION

11                              NEGLIGENT VIOLATIONS OF THE TCPA

12           30.     Answering Paragraph 30 of the Complaint, Defendants incorporate all of the

13   preceding Paragraphs of this Answer as if fully set forth herein.

14           31.     Answering Paragraph 31 of the Complaint, Defendants deny each and every

15   allegation set forth therein.

16           32.     Answering Paragraph 32 of the Complaint, Defendants deny each and every

17   allegation set forth therein.

18           33.     Answering Paragraph 33 of the Complaint, Defendants deny each and every

19   allegation set forth therein.

20                                    SECOND CAUSE OF ACTION

21                   KNOWING AND/OR WILLFUL VIOLATIONS OF THE TCPA

22           34.     Answering Paragraph 34 of the Complaint, Defendants incorporate all of the

23   preceding Paragraphs of this Answer as if fully set forth herein.

24           35.     Answering Paragraph 35 of the Complaint, Defendants deny each and every

25   allegation set forth therein.

26           36.     Answering Paragraph 36 of the Complaint, Defendants deny each and every
27   allegation set forth therein.
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 1           37.     Answering Paragraph 37 of the Complaint, Defendants deny each and every

 2   allegation set forth therein.

 3

 4                                          PRAYER FOR RELIEF

 5           Answering these unnumbered Paragraphs of the Complaint, Defendants deny each and

 6   every allegation set forth therein. Defendants further deny any wrongdoing whatsoever, and deny

 7   that Plaintiff and/or the purported class are entitled to any relief.

 8

 9                                       AFFIRMATIVE DEFENSES
10           Without assuming the burden of proof where it otherwise lies with Plaintiff, Defendants

11   assert the following further and affirmative defenses:

12                                    FIRST AFFIRMATIVE DEFENSE

13                                         (Failure To State A Claim)

14           The Complaint fails to state a claim upon which relief can be granted.

15                                   SECOND AFFIRMATIVE DEFENSE

16                                             (Lack of Standing)

17           Plaintiff lacks standing to sue Defendant, and to represent any supposed class members on

18   any claim against Defendants.

19                                   THIRD AFFIRMATIVE DEFENSE

20                            (Procedural and Substantive Due Process Rights)

21           The imposition of statutory damages under the TCPA against Defendants would violate the

22   Due Process provisions of the United States Constitution and/or the California State Constitution.

23                                   FOURTH AFFIRMATIVE DEFENSE

24                                              (Excessive Fines)

25           The award of statutory penalties against Defendants would violate the prohibition against

26   excessive fines of the United States Constitution.
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 1                                   FIFTH AFFIRMATIVE DEFENSE

 2                                          (Statute of Limitations)

 3           Applicable statutes of limitations, including, without limitation, 28 U.S.C. § 1658, bar the

 4   claims of Plaintiff, or any persons he purports to represent.

 5                                   SIXTH AFFIRMATIVE DEFENSE

 6                                                (No Agency)

 7           Defendants did not act as the agents of their co-defendants in connection with any of the

 8   conduct alleged in the Complaint.

 9                                 SEVENTH AFFIRMATIVE DEFENSE
10                                                  (Consent)

11           Defendants are informed and believe, and on that basis allege that Plaintiff is barred, in

12   whole or in part, from maintaining his alleged causes of action because he consented to receive

13   calls of the type he alleges Defendants caused to be sent to him.

14                                  EIGHTH AFFIRMATIVE DEFENSE

15                                                 (Estoppel)

16           Plaintiff's claims are barred in whole or in part by the doctrine of estoppel.

17                                   NINTH AFFIRMATIVE DEFENSE

18                                                  (Waiver)

19           Plaintiff's claims are barred in whole or in part by the doctrine of waiver.

20                                  TENTH AFFIRMATIVE DEFENSE

21                                                  (Laches)

22           Plaintiff is barred from recovery by the doctrine of laches because Plaintiff knew of the

23   purported acts or omissions he ascribes to Defendants and was fully aware of his rights against

24   Defendants (if any) but nevertheless inexcusably and unreasonably delayed in asserting those rights

25   to the prejudice of Defendants.

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 1                                ELEVENTH AFFIRMATIVE DEFENSE

 2                                            (Failure to Mitigate)

 3           Plaintiff's claims are barred in whole or in part as a result of his failure to mitigate his

 4   alleged damages, if any.

 5                                 TWELFTH AFFIRMATIVE DEFENSE

 6                                               (Unclean Hands)

 7           Plaintiff is precluded from any recovery from Defendants, or any such recovery must be

 8   reduced, as a result of Plaintiff's failure to do equity in the matters alleged in the Complaint.

 9                               THIRTEENTH AFFIRMATIVE DEFENSE
10                                           (Reservation of Rights)

11           Defendants expressly reserve the right to assert such other and further affirmative defenses

12   as may be appropriate.

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 1           WHEREFORE, Defendants request the following relief:

 2           (1)     That Plaintiff’s Complaint be dismissed with prejudice;

 3           (2)     That Plaintiff takes nothing by virtue of the Complaint;

 4           (3)     That judgment be entered in Defendants’ favor;

 5           (4)     That the Court award Defendants their fees, expenses and costs to the full extent

 6   permitted by law; and

 7           (5)     That the Court award such other relief as is just and proper under the circumstances.

 8

 9
10   Dated: August 10, 2010                              STROOCK & STROOCK & LAVAN LLP
                                                         JULIA B. STRICKLAND
11                                                       LISA M. SIMONETTI
                                                         SETH M. GOLDSTEIN
12

13
                                                         By:    /s/ Seth M. Goldstein
14                                                                       Seth M. Goldstein
15
                                                                Attorneys for Defendants
16                                                              The Federal Home Loan Mortgage
                                                                Corporation, Inc. a/k/a Freddie Mac, and
17                                                              Wells Fargo Bank, N.A., erroneously
                                                                sued herein as Wells Fargo Home
18                                                              Mortgage, Inc.
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 1
                                       CERTIFICATE OF SERVICE
 2
             I hereby certify that on August 10, 2010, that I electronically filed the foregoing document
 3
     with the Clerk of the Court using the CM/ECF system. The Court or the CM/ECF system will send
 4
     notification of such filings to all CM/ECF participants. I further certify that a true and correct copy
 5   of this document was sent via U.S. first-class mail, postage pre-paid to all non-CM/ECF
 6   participants.
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                                                   /s/ Seth M. Goldstein_____________
 9                                                         Seth M. Goldstein
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